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 1 ISMAIL J. RAMSEY (CABN 189820)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 HELEN L. GILBERT (NYBN 4736336)
   LAURA VARTAIN HORN (CABN 258485)
 5 KYLE F. WALDINGER (CABN 298752)
   Assistant United States Attorney
 6
          450 Golden Gate Avenue, Box 36055
 7        San Francisco, California 94102-3495
          Telephone: (415) 436-7200
 8        FAX: (415) 436-7234
          Email: Helen.Gilbert@usdoj.gov
 9                Laura.Vartain@usdoj.gov
                  Kyle.Waldinger@usdoj.gov
10
   Attorneys for United States of America
11
                                   UNITED STATES DISTRICT COURT
12
                                 NORTHERN DISTRICT OF CALIFORNIA
13
                                       SAN FRANCISCO DIVISION
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15   UNITED STATES OF AMERICA,                       )   CASE NO. 3:22-CR-426-JSC
                                                     )
16           Plaintiff,                              )   STIPULATION AND [PROPOSED] ORDER
                                                     )   REGARDING MOOTNESS OF DEFENDANT’S
17      v.                                           )   MOTION TO ACCESS AND INSPECT CRIME
                                                     )   SCENE
18   DAVID WAYNE DEPAPE,                             )
                                                     )
19           Defendant.                              )
                                                     )
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21           On August 2, 2023, the Court held a hearing on defendant’s Motion to Access and View Crime
22 Scene. Dkt. 55. The defendant seeks to access and inspect the home of Congresswoman Nancy Pelosi

23 and her husband Paul Pelosi. The Pelosis have agreed voluntarily to permit the government and the

24 defense team to access and inspect their home pursuant to certain limitations that will be subject to a

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     STIPULATION AND [P] ORDER RE: MOOTNESS OF DEF. MTN. TO ACCESS CRIME SCENE
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 1 protective order. The parties stipulate and agree that Defendant’s Motion to Access and View Crime

 2 Scene, Dkt. 55, is now moot.

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 4    IT IS SO STIPULATED.                               ISMAIL J. RAMSEY
                                                         United States Attorney
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 6
      Dated: August 9, 2023                              __/s/___________________________________
 7
                                                         HELEN L. GILBERT
 8                                                       LAURA VARTAIN HORN
                                                         KYLE F. WALDINGER
 9                                                       Assistant United States Attorneys

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11                                                       JODI LINKER
                                                         Federal Public Defender
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13
                                                         __/s/___________________________________
14                                                       ANGELA CHUANG
                                                         Assistant Federal Public Defender
15                                                       Counsel for Defendant David DePape
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     STIPULATION AND [P] ORDER RE: MOOTNESS OF DEF. MTN. TO ACCESS CRIME SCENE
     3:22-CR-426-JSC                           2
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 1                                        [PROPOSED] ORDER

 2         For the reasons stated above, the Court DENIES without prejudice Defendant’s Motion to

 3 Access and Inspect Crime Scene, Dkt. 55, as moot.

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 5 IT IS SO ORDERED

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 7    Dated:                                            HON. JACQUELINE SCOTT CORLEY
                                                        United States District Judge
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     STIPULATION AND [P] ORDER RE: MOOTNESS OF DEF. MTN. TO ACCESS CRIME SCENE
     3:22-CR-426-JSC                           3
